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                                      #:1756



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10
11                         UNITED STATES DISTRICT COURT

12          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
13
14    BREONNAH FITZPATRICK and                     CASE NO. 21-CV-06841-JGB-SP
      CHRISTOPHER OFFICER, individuals
15    and as class representatives,
                                                   The Hon. Jesus G. Bernal
16                         Plaintiffs,
            vs.                                   DEFENDANT CITY OF LOS
17                                                ANGELES’ OFFER OF
                                                  JUDGMENT TO PLAINTIFFS
18    CITY OF LOS ANGELES, a municipal            BREONNAH FITZPATRICK AND
      corporation; CITY OF LOS ANGELES            CHRISTOPHER OFFICER
19    DEPARTMENT OF TRANSPORTATION, [F.R.Civ.P. 68]
      a public entity;
20    and DOES 1 through 10, in their individual
      and official capacities,                   Pretrial Conf.: August 26, 2024
21
                                                 Trial Date:     September 10, 2024
                            Defendants.
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23                                                 Complaint Filed: August 25, 2021

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                              Offer of Judgment per F.R.Civ.P. 68
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 1         PLEASE TAKE NOTICE THAT Defendant City of Los Angeles (“the City”),
 2   on its behalf and on behalf of Defendant City of Los Angeles Department of
 3   Transportation, hereby offers to allow judgment to be taken against the City in this
 4   action pursuant to Rule 68 of the Federal Rules of Civil Procedure as follows: a
 5   judgment in favor of Plaintiff Breonnah Fitzpatrick and Plaintiff Christopher Officer
 6   (collectively “Plaintiffs”) and against the City, in the amount of Ninety-nine thousand
 7   nine hundred ninety-nine dollars and zero cents ($99,999.00), inclusive of attorney
 8   fees and costs.
 9         PLEASE TAKE FURTHER NOTICE THAT acceptance by less than all
10   Plaintiffs as defined above shall be deemed a rejection of this offer.
11         PLEASE TAKE FURTHER NOTICE THAT this offer is made for the
12   purposes specified in Federal Rule of Civil Procedure 68, and is not to be construed as
13   an admission that either the City, or its Department of Transportation, is liable in this
14   action, or an admission that Plaintiffs have suffered any damages.
15         PLEASE TAKE FURTHER NOTICE THAT that to accept this offer,
16   Plaintiffs must serve written notice of acceptance thereof within fourteen (14) days of
17   the date this offer was made.
18
     Dated: August 22, 2024           HYDEE FELDSTEIN SOTO, City Attorney
19                                    DENISE C. MILLS, Chief Deputy City Attorney
20                                    KATHLEEN KENEALY, Chief Asst. City Attorney
                                      GABRIEL S. DERMER, Assistant City Attorney
21                                    JEFFREY L. GOSS, Deputy City Attorney
22                                    JESSICA A. MARIANI, Deputy City Attorney
                                      GEORGE D. LEE, Deputy City Attorney
23
24                                    By:           /s/ Jeffrey L. Goss
                                             Jeffrey L. Goss, Deputy City Attorney
25                                           Attorneys for Defendants
26                                           CITY OF LOS ANGELES, et al.

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                               Offer of Judgment per F.R.Civ.P. 68
